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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN


VOLKSWAGEN GROUP OF
AMERICA, INC., a New Jersey
corporation,
                                            Civil Action No. 2:24-cv-11117
              Plaintiff,
                                            Honorable:
v.

VDUBS ONLY, INC., a Texas
corporation, and PEYMAN ZAMANI,
an individual and principal of VDubs
Only, Inc.,

       Defendants.

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Attorneys for Plaintiff

                                  COMPLAINT
        Plaintiff Volkswagen Group of America, Inc. (“Plaintiff” or “VWGoA”)

alleges the following in support of its claims against defendants VDubs Only, Inc.

(“VDubs Only”) and Peyman Zamani (“Zamani”) (collectively “Defendants”):
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                          NATURE OF THE ACTION

      1.     This is a complaint for infringement, false designation of origin and

false advertising, cyberpiracy, and dilution of Audi’s trademark AUDI® and VW’s

world famous trademarks VW®, V-DUB®, and the VW EMBLEM® (collectively

the “Audi and VW Marks”) and for related claims based on Defendants’

unauthorized misappropriation of the Audi and VW Marks in its domain names

www.vdubsonly.com and www.vdubsonlydallas.com, use of the phrases “VW &

Audi Specialist,” and use of the bastardized VW EMBLEM® on signage and

otherwise as depicted below:




      2.     Plaintiff alleges claims for federal trademark and trade dress dilution,

federal trademark infringement, false designation of origin or sponsorship, false

advertising, and cyberpiracy under Sections 43(c), 32(1), 43(a), and 43(d) of the

United States Trademark Act of 1946, as amended (the "Lanham Act"), 15 U.S.C.

§§ 1125(c), 1114(1), 1125(a), and 1125(d). Plaintiff seeks a preliminary and

permanent injunction preventing Defendants from using the distinctive Audi and

VW Marks, an injunction transferring the domain names www.vdubsonly.com and


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www.vdubsonlydallas.com, and any other domain names misappropriating the

Audi and VW Marks, along with Plaintiff’s attorney fees and costs.

                                  THE PARTIES

      3.     Plaintiff Volkswagen Group of America, Inc. is a New Jersey

corporation with a principal place of business in Auburn Hills, Michigan.

VWGoA is the exclusive U.S. importer of cars manufactured by Audi AG and

Volkswagen AG (“VW AG”), and VWGoA is tasked with the responsibility of

protecting the trademarks of Audi AG and VW AG in the United States. Plaintiff

Volkswagen Group of America, Inc., Audi AG, and VW AG are sometimes

referred to herein together or individually as “Audi and VW.”

      4.     Defendant VDubs Only, Inc. (“VDubs Only”) is a corporation

existing under the laws of the State of Texas and has places of business at 10465

Shady Trail Dallas, TX 75220 and 11616 Harry Hines Blvd, Dallas, Texas 75229.

      5.     Defendant Peyman Zamani (“Zamani”) is an individual and principal

of defendant VDubs Only, and is a moving, conscious, and active force behind the

infringing acts, and actively participated in and approved the unlawful acts of

infringement by defendant VDubs Only. Plaintiff is informed and believes that

defendant Zamani resides in the Dallas area.

                         JURISDICTION AND VENUE

      6.     This Court has subject matter jurisdiction over this lawsuit pursuant to




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         (a)    Judicial Code, 28 U.S.C. § 1331, relating to “federal question”

jurisdiction;

         (b)    Section 39 of the Lanham Act, 15 U.S.C. § 1121, giving this Court

jurisdiction over all actions arising under the Lanham Act without regard to the

amount in controversy;

         (c)    Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1), relating to the

counterfeit, reproduction, or colorable imitation of a registered mark in connection

with the sale, offering for sale, distribution, or advertising of goods;

         (d)    Section 43(a) of the Lanham Act, 15 U.S.C. Section 1125(a), relating

to the use of false designations of origin and/or sponsorship tending falsely to

describe or designate the source, and/or sponsorship of goods affecting commerce,

and relating to false advertising and trade dress infringement and dilution;

         (e)    Section 43(c) of the Lanham Act, 15 U.S.C., Section 1125(c), relating

to dilution;

         (f)    The Judicial Code, 28 U.S.C. § 1338(a), conferring on this Court

jurisdiction over actions arising under federal trademark laws; and

         (g)    The Judicial Code, 28 U.S.C. § 1338(b), relating to claims of unfair

competition "joined with a substantial and related claim under the ... trademark

laws.”




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      7.     Defendants are subject to personal jurisdiction in this district

inasmuch as this action arises out of wrongful acts committed by Defendants that

are intentionally targeted at Audi and VW in this District that subject Defendants

to personal jurisdiction here, and because Defendants’ unlawful conduct causes

harm and injury to Audi and VW in this District. Moreover, Defendants operate

interactive websites whereby Defendants market, sell, furnish, and support Audi

and Volkswagen services and products throughout the United States, including the

State of Michigan.

      8.     Venue is proper under 28 U.S.C. § 1391.

                           FACTUAL BACKGROUND

                        Audi’s and VW’s Trademark Rights

      9.     The Audi brand is one of the most successful automobile

manufacturers in the entire world and is known throughout the entire world by its

famous trademarks AUDI®.

      10.    The Volkswagen brand is also one of the most successful automobile

manufacturers in the entire world and is known throughout the world by its famous

trademarks VOLKSWAGEN®, V-DUB®, and the VW EMBLEM®.

      11.    Audi and VW have obtained numerous trademark registrations in the

United States for the Audi and VW Marks.




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      12.   Audi and VW have expended many millions of dollars in advertising,

promoting, enforcing, and developing the Audi and VW Marks throughout the

world. As a result of such advertising and expenditures, VW has established

immeasurable goodwill in these trademarks, which are among the most well-

known and valuable trademarks in the world.

      13.   The Audi and VW Marks are inherently distinctive and have acquired

distinctiveness as a result of the use and promotion of the trademarks worldwide.

     Defendants’ Unlawful Violations of Audi’s and VW’s Trademark Rights

      14.   Subsequent to Audi’s and VW’s development and use of the Audi and

VW Marks, and subsequent to their registration of the same, and without the

consent of Audi and VW or their predecessors, Defendants began misappropriating

and using the Audi and VW Marks, or confusingly similar versions of them, in

their domain names, on their website, and in their advertising. For example,

Defendants violated the Audi and VW Marks by falsely using and advertising that

they are “VW & Audi Specialists,” and they use of the bastardized VW

EMBLEM® on signage and otherwise as depicted below:




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      15.    Defendants are in no way affiliated with, authorized, or sponsored by

Audi and VW and have no authority to use the Audi and VW Marks to identify

their products, services, or goods they advertise, promote, or sell.

      16.    Defendants have attempted to capitalize on and profit from the

substantial goodwill that Audi and VW have developed in the Audi and VW Marks

by using the trademarks in their domain names, falsely advertising that they are

“VW & Audi Specialists,” and prominently displaying a bastardized VW

EMBLEM® and otherwise.

      17.    Defendant’s misappropriation and use of the Audi and VW Marks in

conjunction with the advertisement, promotion, and sale of Defendants’ products

and services constitutes a misappropriation of the Audi and VW Marks and

associated good will, and is likely to cause potential purchasers of Defendants’

products and services, as well as the public at large, to believe that Defendants’

products and services are affiliated with, authorized, sponsored by, or endorsed by

VW. In addition, Defendants’ wrongful use of the Audi and VW Marks or

confusingly similar versions thereof, irreparably harms VW and VW, and dilutes,

tarnishes, and whittles away the distinctiveness of the Audi and VW Marks.

      18.    Counsel for Plaintiff has sent Cease and Desist letters to Defendants

which Defendants have ignored. Thus, Defendants intentionally and willfully




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continue to use the Audi and VW Marks with actual knowledge of Audi’s and

VW’s prior adoption and use of the Audi and VW Marks. Defendants’ conduct is

intentionally fraudulent, malicious, willful, and wanton. Accordingly, this is an

exceptional case within the meaning of 15 U.S.C. § 1117(a).

                     FIRST CLAIM FOR RELIEF
            (TRADEMARK DILUTION UNDER 15 U.S.C. § 1125(c))


      19.    Plaintiff re-alleges and incorporates herein the allegations contained

above.

      20.    The Audi and VW Marks have become famous and distinctive

worldwide through VW’s continuous and exclusive use of the Audi and VW

Marks in connection with Audi’s and VW’s products and services.

      21.    Because Audi and VW products and services have gained a reputation

for superior quality, durability, and performance, the Audi and VW Marks (which

are always used in connection with Audi and VW products and services) have

gained substantial renown.

      22.    Defendants have willfully and intentionally misappropriated and

continue to misappropriate the Audi and VW Marks, and counterfeits thereof, in

connection with the advertisement, promotion, and sale of Defendants’ products

and services.




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      23.    Defendants’ misappropriation of the Audi and VW Marks, and

counterfeits thereof, has caused and continues to cause irreparable injury to and

dilution of the Audi and VW Marks’ distinctive quality in violation of Audi’s and

VW’s rights under 15 U.S.C. § 1125(c). Defendants’ wrongful use of the Audi and

VW Marks dilutes, blurs, tarnishes, and whittles away the distinctiveness of the

Audi and VW Marks.

      24.    Defendants have misappropriated and continue to misappropriate the

Audi and VW Marks or counterfeits thereof, willfully and with the intent to dilute

the Audi and VW Marks, and with the intent to trade on the reputation and

goodwill associated with the Audi and VW Marks.

      25.    As a direct and proximate result of Defendants’ unlawful conduct,

VW has suffered irreparable harm to the valuable Audi and VW Marks.

      26.    Unless Defendants are enjoined, the valuable Audi and VW Marks

will continue to be irreparably harmed and diluted. Plaintiff has no adequate

remedy at law that will compensate for the continued and irreparable harm Audi

and VW will suffer if Defendants’ actions are allowed to continue.

      27.    Defendants have used and continue to use the Audi and VW Marks,

trade dress, or counterfeits thereof, willfully and with the intent to dilute the Audi

and VW Marks, and with the intent to trade on the reputation and goodwill of Audi




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and VW and of the Audi and VW Marks. Accordingly, this is an exceptional case

within the meaning of 15 U.S.C. § 111(a).

        28.   As a direct and proximate result of Defendants’ conduct, Plaintiff has

suffered damages to the valuable Audi and VW Marks, and other damages in an

amount to be proved at trial.

              SECOND CLAIM FOR RELIEF
  (FEDERAL TRADEMARK INFRINGEMENT UNDER 15 U.S.C. § 1114)


        29.   Plaintiff re-alleges and incorporates herein the allegations contained

above.

        30.   Plaintiff has demanded that Defendants refrain from the use of the

Audi and VW Marks and counterfeits of the Audi and VW Marks as described

above. Despite Audi’s and VW’s well-known prior rights in the Audi and VW

Marks, Defendants have used and continue to misappropriate, without Audi’s and

VW’s authorization, the Audi and VW Marks, or counterfeits, copies,

reproductions or colorable imitations thereof in connection with the advertisement,

promotion, and sale of Defendants’ products and services.

        31.   Defendants’ actions constitute willful infringement of Audi’s and

VW’s exclusive rights in the Audi and VW Marks in violation of 15 U.S.C. §

1114.




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      32.      Defendants’ misappropriation of the Audi and VW Marks,

counterfeits, copies, reproductions, or colorable imitations thereof has been and

continues to be done with the intent to cause confusion, mistake, and to deceive

consumers concerning the source and/or sponsorship of Defendants’ products and

services. Defendants have used counterfeits of the Audi and VW Marks in

connection with its products with the knowledge that the marks are counterfeits

and with the intent to use counterfeits. Accordingly, this is an exceptional case

within the meaning of 15 U.S.C. § 1117(a).

      33.      As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiff has suffered irreparable harm to the valuable Audi and VW Marks.

Unless Defendants are restrained from further infringement of the Audi and VW

Marks, Plaintiff will continue to be irreparably harmed.

      34.      Plaintiff has no adequate remedy at law that will compensate Plaintiff

for the continued and irreparable harm it will suffer if Defendants’ acts are allowed

to continue.

      35.      As a direct and proximate result of Defendants’ conduct, Plaintiff has

suffered damages to the valuable Audi and VW Marks and trade dress, and other

damages in an amount to be proved at trial.




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                 THIRD CLAIM FOR RELIEF
  (FALSE DESIGNATION OF ORIGIN OR SPONSORSHIP AND FALSE
             ADVERTISING UNDER 15 U.S.C. § 1125(a))
      36.    Plaintiff re-alleges and incorporates herein the allegations contained

above.

      37.    Defendants have knowingly misappropriated the Audi and VW

Marks, or counterfeits, reproductions, copies, or colorable imitations thereof, in

connection with the products and services that Defendants manufacture, advertise,

promote, and sell. Defendants have misappropriated counterfeits of the Audi and

VW Marks knowing that the marks used are counterfeits and with the intent to use

counterfeits of the Audi and VW Marks. Defendants’ actions render this case

exceptional within the meaning of 15 U.S.C. § 1117(a).

      38.    Defendants’ misappropriation of the Audi and VW Marks alleged

above is likely to confuse, mislead or deceive customers, purchasers, and members

of the general public as to the origin, source, sponsorship, or affiliation of

Defendants’ services and products, and is likely to cause such people to believe in

error that Defendants’ products and services have been authorized, sponsored,

approved, endorsed, or licensed by Audi and/or VW or that Defendants are in some

way affiliated with Audi and VW.




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      39.    Defendants’ use of the phrase “Audi & VW Specialists” constitutes

false advertising because it falsely conveys to the public that Audi and VW have

trained and certified that they are specialists in servicing Audi and VW vehicles.

      40.    Defendants’ acts constitute false or misleading descriptions, false

advertising, and false designations of the origin and/or sponsorship of Defendants’

goods in violation of Section 43(a) of the Lanham Act, as amended, 15 U.S.C. §

1125(a).

      41.    Because of Defendants’ actions, Plaintiff has suffered irreparable

harm to the valuable Audi and VW Marks. Unless Defendants’ are restrained from

their actions, Plaintiff will continue to be irreparably harmed.

      42.    Plaintiff has no remedy at law that will compensate for the continued

and irreparable harm that will be caused if Defendants’ acts are allowed to

continue.

      43.    As a direct and proximate result of Defendants’ conduct, Plaintiff has

suffered damages to the valuable Audi and VW Marks, and other damages in an

amount to be proved at trial.

                        FOURTH CLAIM FOR RELIEF
                                 (CYBERPIRACY)

      44.    Plaintiff re-alleges and incorporates herein the allegations contained

above.




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        45.   Defendants’ actions evidence a bad faith intent to profit from the

registration and/or use of the registered VW trademark V-DUB® in Internet

domain names.

        46.   Defendants have registered, trafficked in, and/or used a trademark that

was famous at the time of registration of the domain name and was identical or

confusingly similar to or dilutive of the trademark V-DUB®.

        47.   Plaintiff is entitled to an injunction requiring Defendants to disclose

all domain names that incorporate any of the Audi and VW Marks, or confusingly

similar marks, ordering Defendants to transfer all such domain names to Plaintiff,

and enjoining Defendants from using the Audi and VW Marks in the future in

Internet domain names.

        48.   In addition, Plaintiff is entitled to statutory damages in the amount of

$100,000 per domain name pursuant to 15 U.S.C. § 1117(d) its costs and attorney

fees.

                              PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

        1.    Under all claims for relief, that a permanent injunction be issued

enjoining Defendants, their employees, agents, successors and assigns, and all

those in active concert and participation with them, and each of them who receives

notice directly or otherwise of such injunctions, from:




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      (a)    imitating, copying, or making unauthorized use of any of the Audi and

VW Marks or trade dress;

      (b)    importing, manufacturing, producing, distributing, circulating, selling,

offering for sale, advertising, promoting or displaying any service or product using

any simulation, reproduction, counterfeit, copy, or colorable imitation of any or all

of the Audi and VW Marks or trade dress;

      (c)    using any simulation, reproduction, counterfeit, copy or colorable

imitation of the Audi and VW Marks or trade dress in connection with the

promotion, advertisement, display, sale, offering for sale, manufacture, production,

circulation or distribution of any service or product;

      (d)    using any false designation of origin or false description or false

advertising (including, without limitation, any letters or symbols constituting the

Audi and VW Marks, or performing any act, which can, or is likely to, lead

members of the trade or public to believe that any service or product manufactured,

distributed or sold by Defendants is in any manner associated or connected with

Audi and/or VW, or the Audi and VW Marks, or is sold, manufactured, licensed,

sponsored, approved or authorized by Audi or VW;

      (e)    transferring, consigning, selling, shipping or otherwise moving any

goods, packaging or other materials in Defendants’ possession, custody or control




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bearing a design or mark substantially identical to any or all of the Audi and VW

Marks or trade dress;

      (f)    engaging in any other activity constituting unfair competition with

Audi and VW with respect to the Audi and VW Marks, or constituting an

infringement of any or all of the Audi and VW Marks, or of Audi’s and VW’s

rights in, or to use or exploit, any or all of the Audi and VW Marks; and

      (g)    instructing, assisting, aiding, or abetting any other person or business

entity in engaging in or performing any of the activities referred to in

subparagraphs (a) through (f) above.

      2.     For an order directing that Defendants deliver for destruction all

unauthorized products, labels, tags, signs, prints, packages, videos, and

advertisements in their possession or under their control, bearing or using any or

all of the Audi and VW Marks or any simulation, reproduction, counterfeit, copy

or colorable imitation thereof, and all plates, molds, matrices and other means of

making the same, pursuant to 15 U.S.C. § 1118.

      3.     Under Plaintiff’s claims for Cyberpiracy, that Defendants, and all of

their agents, servants, employees, and attorneys, and all other persons in active

concert or participation with them who receive actual notice of the injunction, be

temporarily, preliminarily, and permanently enjoined as follows:

      (a)    That   Defendants    be   enjoined    from   registering,   maintaining




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registrations for, using, offering for sale, claiming ownership of, or in any other

way using any domain names that use names, words, designations, or other

symbols confusingly similar to the Audi and VW Marks;

      (b)    That Defendants be ordered to disclose to the Court and to Plaintiff all

other domain name registrations directly or indirectly owned or registered by

Defendants in order to permit the Court and Plaintiff to consider whether any such

other registration should be transferred to Plaintiff or be subject to other relief in

this matter; and

      (c)    That Defendants be ordered to transfer to Plaintiff the registrations for

the domain names www.vdubsonly.com and www.vdubsonlydallas.com as well as

any other domain names that use names, words, designations, or other symbols

confusingly similar to the Audi and VW Marks.

      4.     For an order directing such other relief as the Court may deem

appropriate to prevent the trade and public from deriving the erroneous impression

that any service or product manufactured, sold or otherwise circulated or promoted

by Defendants is authorized by Audi or VW or related in any way to Audi’s and

VW’s products or services.

      5.     For an order directing that Defendants file with the Court and serve

upon Plaintiff’s counsel within thirty (30) days after entry of such judgment, a




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report in writing under oath, setting forth in detail the manner and form in which

Defendants have complied with the above.

      6.      For an order permitting Plaintiff, and auditors for Plaintiff, to audit

and inspect the books and records of Defendants for a period of six months after

entry of final relief in this matter to determine the scope of Defendants’ past use of

the Audi and VW Marks, including all revenues and sales related to Defendants’

use of the Audi and VW Marks, as well as Defendants’ compliance with orders of

this Court.

      7.      For an award of Plaintiff’s costs and disbursements incurred in this

action, including Plaintiff’s reasonable attorney fees.

      8.      For an award of Plaintiff’s damages trebled or, alternatively, an award

of Defendants’ wrongful profits trebled, whichever is greater, plus Plaintiff’s costs

and attorney fees, pursuant to 15 U.S.C. § 1117.

      9.      For an award of statutory damages of $100,000.00 per domain name

pursuant to 15 U.S.C. § 1117(d) plus Plaintiff’s attorneys’ fees and costs.

      10.     For an award of Plaintiff’s damages arising out of Defendants’ acts;

      11.     For an order requiring Defendants to file with the Court and provide

to Plaintiff an accounting of all sales and profits realized by Defendants through

the use of the Audi and VW Marks and any counterfeits thereof.




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      12.   For an award of interest, including pre-judgment interest on the

foregoing sums.

      13.   For such other and further relief as the Court may deem just and

proper.

            DATED: April 26, 2024


                                    PCFB LAW


                                    By /S/ GREGORY D. PHILLIPS
                                      Gregory D. Phillips
                                      Attorneys for Plaintiff
                                      VOLKSWAGEN GROUP OF
                                      AMERICA, INC.




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